
16 N.Y.2d 551 (1965)
The People of the State of New York, Respondent,
v.
Joseph D'Iorio, Appellant.
Court of Appeals of the State of New York.
Argued April 19, 1965.
Decided May 20, 1965.
Michael A. Bamberger and Anthony F. Marra for appellant.
Aaron E. Koota, District Attorney (Harold M. Brown of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Judgment modified to the extent of directing a hearing on the issue of the voluntariness of the confession introduced as a part of the People's case at the trial and, as so modified, affirmed. Case remitted to the Supreme Court, Kings County, for such hearing (People v. Huntley, 15 N Y 2d 72). No opinion.
